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                IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF DELAWARE


Anthony MacKay, individually and                          Case No. ________
on behalf of all others similarly
situated,                                       CLASS ACTION COMPLAINT

                            Plaintiff,            JURY TRIAL DEMANDED
v.

Lenovo (United States) Inc.,

                          Defendant.


      Plaintiff Anthony MacKay, individually and on behalf of all others similarly

situated, by his attorneys, files this Class Action Complaint (“Complaint”) against

Defendant Lenovo (United States) Inc. (“Lenovo”). The following allegations are

based on personal knowledge as to Plaintiff’s own conduct and on the investigation

conducted by their counsel as to all other allegations.

              INTRODUCTION AND SUMMARY OF ACTION

      1.     Plaintiff brings this consumer class action alleging that Lenovo misled

consumers about the quality and functionality of certain laptop computers that it

designed, manufactured, marketed, sold, and distributed to thousands of consumers

in Washington State and throughout the United States.

      2.     These laptop computers possess a material defect the prevents them

from being used as portrayed in Lenovo’s advertising materials, and Lenovo



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concealed, failed to disclose, or otherwise engaged in deceptive marketing with

respect to this defect. As a result, many consumers purchased computers that

became practically unusable after months or even days of use.

      3.     In May 2017, Lenovo introduced a new model of laptop computer

marketed in North America as the Flex 5 and in other regions as the Yoga 520 (the

“Flex 5”). In April of the following year, Lenovo began selling the Yoga 730

laptop computer (the “Yoga 730”, and together with the Flex 5, the “Class

Laptops”).

      4.     Defendant marketed both computers as “2-in-1” devices with “360°

flexibility”: laptops with touchscreen monitors that can be folded flat against the

underside of the base of the machine to approximate the form of a tablet computer.

Lenovo represented that the Class Laptops:

      “Stay Flexible with 360-Degree Hinge . . . More than just a traditional

      laptop, the Flex 5 transitions with your schedule. Thanks to a durable 360-

      degree hinge, you can easily flip into tablet mode for browsing the web, or

      stream a TV show in tent mode. With this much flexibility, you’ll always

      find your perfect viewing angle.”

                                              ***

      “Brilliant Clarity of Full High Definition Viewing . . . With up to 15.6” FHD

      IPS touchscreen narrow-bezel display, you can watch movies and browse the


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       web in vivid detail from nearly every angle. Whether you’re lounging on the

       couch or watching with friends, we’ve narrowed two sides of the screen to

       maximize your viewing experience.”

                                                  ***



       “The Yoga 730 13” is a truly multimode device, elegantly designed to be

       equally stylish as you transition from tablet mode to laptop mode and back.

       Available in sophisticated Iron Grey.”

                                                  ***

       “You can transition from tablet model to laptop mode and back with the new

       Yoga 730 15”. Designed to be as stylish as you are, it is available in

       sophisticated Platinum.”1

       5.     Lenovo’s marketing materials also boast of “Ultra HD” and “4K” high

resolution displays, claiming that “you’ll see every detail” and “you’ll be able to

watch movies and browse the web in vivid detail from nearly every angle.”2


1
  See Lenovo Yoga 730 Tour, February 26, 2018,
https://www.youtube.com/watch?v=ZK1CYacQ6_E&feature=youtu.be (last accessed June 6,
2019); Flex 5 (14”), Product Page, https://www.lenovo.com/us/en/laptops/ideapad/ideapad-flex-
series/Flex-5-14/p/88IP8FX0831 (last accessed June 6, 2019) (hereinafter, “Flex 5 Product
Page”); Lenovo Yoga 730 (13”) Product page, https://www.lenovo.com/us/en/laptops/yoga/700-
series/Yoga-730-13-/p/88YG7000964 (last accessed Feb. 7, 2020).
2
  See Yoga 730 15” Laptop, Product Page, https://www.lenovo.com/us/en/laptops/yoga/700-
series/Yoga-730-15/p/88YG7000965 (last accessed June 6, 2019); FLEX 5 15.6” Datasheet,
http://psref.lenovo.com/syspool/Sys/PDF/datasheet/Lenovo_Flex_5_15IKB_datasheet_EN.pdf
(last accessed June 6, 2019).

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          6.    Defendant uniformly represented to consumers that it had years of

experience in the manufacture of computers and mobile devices and was in effect

an expert in the manufacture, design, and use of computers.

          7.    Plaintiff and Class members saw or heard these representations from

Defendant about the Class Laptops prior to purchasing their Flex 5 or Yoga 730

computers.

          8.    Plaintiff purchased a Flex 5 manufactured by Defendant on August

30, 2017, for $1,049.99. Within approximately a month of his purchase, Plaintiff

noticed a problem that has plagued other purchasers of the Class Laptops: during

ordinary use of the machine, part or all of the monitor display flickers, freezes,

blacks out, and/or displays corrupted visuals (e.g., a grey screen marked by vertical

lines).

          9.    Plaintiff researched the Flex 5 online before he bought it, including by

reviewing Lenovo’s representations about it on Lenovo’s website and third-party

reviews. Plaintiff viewed Lenovo’s representations on its website and thereafter

purchased the Flex 5 because he was induced to believe its functionality would fit

his needs.

          10.   Plaintiff additionally purchased a stylus to use his Flex 5 in tablet

mode, but he has never been able to use the stylus because of the defect described

herein.


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      11.    Contrary to Lenovo’s representations, Lenovo fails to disclose that the

Class Laptops are designed and manufactured with a common inherent defect that

over time compromises the monitor display (the “Defect”), impairing the

computer’s graphical user interface. As a result, the user’s ability to input

information into the computer and to view program output (which is to say, the

primary modes of user interaction with a computer) is dramatically reduced. Thus,

the Defect renders the computer partially or wholly unusable.

      12.    According to Plaintiff and other Flex 5 and Yoga 730 laptop owners

who have experienced the Defect, the common display problems are triggered and

exacerbated when the display is opened or moved, such as when the user folds the

monitor into “tent mode” or “tablet mode.”

      13.    Upon information and belief, the Defect is the result of ordinary stress

on a vital component that is common in the Class Laptops. Specifically, in the

Class Laptops, visual information is transmitted to the display via the embedded

DisplayPort cable (“eDP cable”), which connects the computer’s display to the

motherboard and travels through the hinge assembly connecting the display and the

body of the machine. If the eDP cable is poorly routed, opening and moving the

display (such as when folding the monitor into tablet or tent mode) could loosen

the cable and lead to the issues associated with the Defect.




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      14.    Consequently, the Class Laptops are not fit for their intended purpose

as 2-in-1 laptop computers and cannot satisfy the representations Lenovo made in

its marketing materials and warranties.

      15.    There are hundreds, if not thousands, of customer posts on

Defendant’s own online forum complaining of the display issues described above

in the Class Laptops. These posts date back to at least December 2017.

      16.    Lenovo has responded to the Defect in several ways, all of which are

inadequate. In communications with some owners of the Class Laptops, Lenovo

has stated that a wiring issue was causing the screen flickering and other display

issues. Despite acknowledging the Defect in this fashion, Defendant has been

unable or unwilling to address the true scope and pervasive nature of the Defect in

the Class Laptops.

      17.    Defendant’s laptop computers are covered by a limited warranty (the

“Limited Warranty”), which warrants that Lenovo products are free of defects in

material and workmanship and that Lenovo will repair, replace, or refund the

purchase if it is unable to repair a product.

      18.    The Defect manifests both inside and outside of the warranty period.

Defendant has been unable to fix the Defect during the warranty period and

routinely refuses to repair the Defect free of charge outside of the warranty period.




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      19.    Many other purchasers of the Class Laptops have also sent their

computers in for repair (often multiple times), only to find that the same issues

crop up after the purported repairs. Plaintiff also sent Lenovo a notice letter on his

own behalf and on behalf of the class before filing this action.

      20.    Despite being aware of the cause of the Defect, Lenovo and its

representatives have often engaged in, or directed frustrated customers to engage

in, ineffective repair methods. Many customers who attempted to exercise their

rights under the warranty were told the display issues were the result of a software

problem and were told to install or update software, which did not fix the Defect.

And when Lenovo accepted a Class Laptop for repair under the warranty, it often

replaced the screen, “rerouted” the eDP cable, or merely taped it into place. None

of these purported repairs remedied the display issues, because none addressed the

Defect.

      21.    Defendant marketed, promoted, and sold the Flex 5 and Yoga 730

laptops as 2-in-1 laptops featuring high resolution displays and monitors capable of

folding into tent and tablet modes.

      22.    Defendant knew that a material factor for consumers purchasing a

Flex 5 or Yoga 730 was that the device possesses a monitor capable of movement

into various positions and be able to consistently display visual information via a

graphical user interface.


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      23.    The Defect, however, makes it difficult or impossible to interface with

programs, watch movies, play games, or otherwise engage in a typical fashion with

the Class Laptops.

      24.    Lenovo concealed from and/or failed to disclose to Plaintiff and the

Class the defective nature of the Class Laptops, and failed to remove the Class

Laptops from the marketplace or take adequate action to remedy the Defect.

Rather, Lenovo sold and serviced the Class Laptops even though it knew, or was

reckless in not knowing, that the Defect impacted the display of the Class Laptops

and would ultimately result in Plaintiff’s and Class members’ inability to use their

Class Laptops for their intended purpose.

      25.    Defendant’s knowledge of the defect is evident from its

acknowledgment of the defect as detailed herein, and from complaints lodged on

Defendant’s own online forum.

      26.    As a result of Lenovo’s unlawful, unfair, fraudulent, misleading, and

deceptive practices, Plaintiff and other consumers have purchased Lenovo’s

products under the mistaken belief that the Flex 5 and Yoga 730 laptops possessed

high quality, functional monitor displays that were capable of folding without

damaging the machine.

      27.    Had Plaintiff and the Class known the facts regarding the Defect in

the Class Laptops, those facts would have been material to their and any


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reasonable consumer’s decisions to purchase the Class Laptops at the price they

paid for them.

         28.   As a consequence of Lenovo’s false and misleading statements, their

active concealment of the Defect, and their failure to repair or otherwise address

the Defect, Plaintiff and the Class have suffered injury in fact and actual damages

in that the Class Laptops they purchased are unreliable and/or unusable for their

intended purposes. As a direct and proximate result of the Defect, Plaintiff and the

Class have also suffered or will suffer damages in the form of, inter alia: out-of-

pocket expenditures for the replacement and attempted repairs of the Class

Laptops; diminished value of the Class Laptops; and the failure to receive the

benefit of the bargain in their purchases of the Class Laptops.

         29.   Accordingly, Plaintiff seeks redress for Defendant’s breaches of

warranties and Washington’s Consumer Protection, and the common law of the

state.

         30.   In furtherance of the public interest, and in order to remedy Lenovo’s

wrongful conduct, Plaintiff brings this action as a class action, and asserts claims

on behalf of himself and a class of similarly situated persons seeking money

damages, equitable relief, and injunctive relief for Defendant’s conduct described

herein.




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      31.    Because of the relatively small size of the typical individual Class

members’ claims, it is unlikely that individual Class members could afford to seek

recovery on their own. This is especially true in light of the size and resources of

Defendant. A class action is, therefore, the only reasonable means by which Class

members can obtain relief.

                                     PARTIES

      32.    At all times relevant herein Plaintiff, Anthony MacKay, was a

permanent resident of the United States residing in Washington. Plaintiff

purchased a Flex 5 for his personal use in connection with school on August 30,

2017, for $1,049.99, from an online retail seller.

      33.    Defendant Lenovo is a Delaware corporation with its principal office

located at 1009 Think Place, Morrisville, North Carolina, 27560. Upon information

and belief, Lenovo is a subsidiary of Lenovo Group Limited, a global Fortune 500

company and one of world’s largest manufacturers and sellers of computers, with

its global headquarters located in Beijing, China. Defendant Lenovo utilizes the

website www.lenovo.com/us and its related webpages, as well as resellers, to

market and sell personal computers and related products directly to consumers

throughout the United States, including to consumers in Washington and

Delaware.




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                           JURISDICTION AND VENUE

      34.      This Court has personal jurisdiction over Defendant because it is

incorporated in the State of Delaware; has consented to jurisdiction by registering to

conduct business in the state; maintains sufficient minimum contacts in Delaware;

and otherwise intentionally avails itself of the markets within Delaware through

promotion, sale, marketing and distribution of its computers, which renders the

exercise of jurisdiction by this Court proper and necessary as Lenovo is “at home”

in Delaware.

      35.      This Court has subject matter jurisdiction over all of Plaintiff’s claims

under 28 U.S.C. § 1332(d). This is a class action, the matter in controversy exceeds

the sum of $5,000,000 exclusive of interest and costs, and Plaintiff and the Class

members are citizens of states different from defendant.

      36.      Venue is proper in this District under 28 U.S.C. § 1391 because a

substantial part of the events giving rise to the claim occurred in this district.

                              STATEMENT OF FACTS
      37.      Lenovo’s parent company was founded in China in 1984 and is

headquartered in Beijing. The company designs, develops, manufactures, and

sells personal computers, tablet computers, smartphones, workstations, servers,

electronic storage devices, IT management software, and smart televisions.




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        38.   Lenovo operates in more than sixty countries and sells its products in

around one hundred and sixty countries. Lenovo’s principal facilities are in Beijing

and Morrisville, North Carolina, with research centers in China, Japan, and

Morrisville, sales centers in Beijing, Morrisville, France, and Singapore, and

manufacturing centers in China, Mexico, India, and Whitsett, North Carolina.

        39.   As of March 2019, Lenovo was the world’s largest personal computer

vendor by unit sales.

        40.   Lenovo launched the Yoga family of computers—products named for

their ability to assume multiple form factors due to a hinged screen—in 2012, with

the launch of the Lenovo IdeaPad Yoga 13 laptop computer. Since that time,

Lenovo has released at least 20 new lines laptop computers under the Yoga and

Flex brand names.

A.      The Class Laptops
        41.   Both the 14” screen and 15” screen models of the Flex 5 laptops went

to market in or around May 2017 with the basic models priced at $799.99. The

Yoga 730 model of laptop went to market in or around April 2018; the basic 13”

screen model was priced at $880, while the basic 15” screen model was priced at

$990.




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        42.    Defendant marketed both computers as high quality 2-in-1 laptops

with touchscreen monitors that could be folded flat against the underside of the

base of the machine.

        43.    Specifically, Lenovo stated that the “durable” and “versatile 360-

degree hinge” of the Flex 5 enabled the user to “easily flip into tablet mode for

browsing the web, or stream a TV show in tent mode. With this much flexibility,

you’ll always find your perfect viewing angle.” 3

        44.    Similarly, Lenovo marketed the “360° flexibility” of the Yoga 730,

describing it as a “truly multimode device, elegantly designed to be equally stylish

as you transition from tablet mode to laptop mode and back.”4

        45.    Defendant represented to consumers that it had years of experience in

the manufacture of computers and was in effect an expert in the manufacture,

design, and use of computers.


3
  See Flex 5 Product Page; YOGA 520 Tour, February 27, 2017,
https://www.youtube.com/watch?v=nAt5k4zP2fs (last accessed June 6, 2019). Defendant also
touted the “brilliant clarity of full high definition viewing” of the “touchscreen narrow-bezel
display” enabling users to “watch movies and browse the web in vivid detail from nearly every
angle,” and the “precise design” of the machine. See also Flex 5 Product Page.
4
  See Lenovo Yoga 730 Tour, February 26, 2018,
https://www.youtube.com/watch?v=ZK1CYacQ6_E&feature=youtu.be (last accessed June 6,
2019); Yoga 730 Datasheet,
https://forums.lenovo.com/lnv/attachments/lnv/mwc2018_en/3/1/53905_Yoga%20730-13-
15IKB%20Datasheet_FA_180219_LR.pdf (last accessed June 6, 2019). Defendant marketed the
Yoga 730 as a “premium” machine featuring a “15” wide-angle display” designed for “watching
the latest in theatrical quality video, movies, and TV exactly the way they were meant to be seen.
With 300 nits brightness, you’ll see every detail.” See Yoga 730 15” Laptop, Product Page,
https://www.lenovo.com/us/en/laptops/yoga/700-series/Yoga-730-15/p/88YG7000965 (last
accessed June 6, 2019).

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          46.   Defendant’s Limited Warranty “warrants that each Lenovo hardware

product that you purchase is free from defects in materials and workmanship under

normal use during the warranty period.”5 If a Lenovo-approved service provider

“determines that it is unable to repair your product, the Service Provider will

replace it with one that is at least functionally equivalent. If the Service Provider

determines that it is unable to either repair or replace your product, your sole

remedy under this Limited Warranty is to return the product to your place of

purchase or to Lenovo for a refund of your purchase price.”6

          47.   Defendant designed, manufactured, warranted, advertised, and sold

the Class Laptops to thousands of consumers throughout the United States.

          48.   Defendant marketed, promoted, and expressly warranted that the

Class Laptops were premium, fully functioning 2-in-1 computers, able to assume

tablet and tent mode, and furthermore able to perform all of the basic functions of

similar laptops of their class.

          49.   Plaintiff and the Class members purchased their Class Laptops to be

used for computing purposes like those portrayed by Defendant in their marketing

materials for all of the Class Laptops.




5
 See Lenovo Limited Warranty, https://download.lenovo.com/pccbbs/thinkcentre_pdf/l505-
0010-02_en_update.pdf (last accessed June 6, 2019).
6
    Id.

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B.      The Defect

        50.   Contrary to Lenovo’s representations, the Class Laptops are designed

and manufactured with an inherent defect that compromises the monitor display.

During ordinary use of the machine, the Defect causes part or all of the monitor

display to flicker, freeze, black out, and/or display corrupted visuals (e.g., a gray

screen marked by vertical lines). When these issues manifest, use of the computer

is, at best, difficult, and often impossible because the user cannot see their own

input or the computer’s visual output. Since the Defect impairs the user’s visual

interface to the machine, it renders the device partially or wholly unusable.

        51.   According to Plaintiff and other Flex 5 and Yoga 730 Laptop owners

who have experienced the Defect, the display problems are triggered and

exacerbated when the display is opened or moved, such as when the user folds the

monitor into tent or tablet mode.

        52.   Consequently, the Class Laptops are not fit for their intended purpose

and cannot perform in accordance with Lenovo's marketing materials and

warranties.

        53.   Plaintiff purchased a Flex 5 for his personal use in connection with

school on August 30, 2017, for $1,049.99, from an online retail seller.

        54.   His purchase was covered by the Limited Warranty for a period of one

year.



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      55.    Within weeks of purchasing the computer Plaintiff noticed the

monitor display flickering. This issue worsened over time, greatly diminishing his

ability to use the machine, and only a few months after the purchase the display

began blacking out, rendering the computer unusable. These issues would occur

after only minutes of use and sometimes upon powering on the machine.

      56.    Plaintiff sent his Flex 5 to Lenovo for repair twice under the Limited

Warranty. The first time, in or around June 2018, Lenovo failed to fix the Defect

and Plaintiff continued to experience screen flickering and black out while using

the machine. Plaintiff sent his computer to Lenovo a second time in January 2019,

but the day after Plaintiff received the purportedly repaired computer the screen

flickering and black outs resumed.

      57.    In February 2019, after the second failed repair attempt, Plaintiff

again contacted Lenovo about repairing his Flex 5, but Lenovo stated that his

warranty had expired and refused to repair the machine free of charge.

      58.    The issues caused by the Defect were so severe that Plaintiff has been

unable to use his laptop unless it is connected to an external monitor.

      59.    The Defect has impacted many other purchasers of the Flex 5. For

example, on the English Community forum on the Lenovo website (the “Lenovo

Forum”), on December 26, 2017, a forum member created a thread entitled

“Lenovo Flex 5 1470 black screen flickering” and wrote:


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                My ~2 week old Lenovo Flex 5’s screen started to flicker
                a few days ago and the issue has become progressively
                worse since then to a point where most of the screen is
                covered by black flickering at times. The computer starts
                fine, but when the computer is moved and especially when
                the screen is moved up or down the flickering appears.
                Sometimes the flickering only starts after the computer has
                been on for a few hours (restarting the PC fixes the issue
                for a short while).
                I have tried updating to the latest Intel graphics drivers in
                the device manager to no avail. I then tried uninstalling the
                display drivers from the device manager, that only seemed
                to work for a short while.7

          60.   In the same thread, another customer replies: “I have the exact same

problem. My issue occurs mostly when i just turn the laptop on but once i start

using it its fine. It does flicker when i move the screen and overtime its gotten

worse when i first pull open the laptop.” Another states: “I am also having this

issue where black flickering will cover all or most of the screen. This problem has

appeared in the last week and I bought this laptop new 3 weeks ago.”8

          61.   In another thread on the Lenovo Forum created on December 21,

2017, and entitled “New Flex 5 has some problems,” a customer wrote:

                [A]bout four days ago, the screen started flickering black
                when the screen was positioned a certain way. It happened
                again the next day but hasn't since then. I’m not trying to
                push my luck so I haven’t put it tablet mode. However, the
                night before the problem started I used it in tablet mode
                and might have opened it too quickly. I fear that may have
7
 See https://forums.lenovo.com/t5/Lenovo-IdeaPad-1xx-3xx-5xx-7xx/Lenovo-Flex-5-1470-
black-screen-flickering/m-p/3919809 (last accessed June 6, 2019).
8
    Id.

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              been what caused the flickering but I don’t know if it was
              just a temporary thing or if it’s a better bet to send it in to
              have it looked at. I’m a bit against sending it in because
              I’m on break at the moment and would like to use the
              laptop but I don’t want it getting worse when my classes
              start again and I be stuck without a laptop for long time. 9

        62.   Within this thread there are four pages of posts like these, and on the

Lenovo Forum there are dozens of threads like this one detailing the issues caused

by the Defect. Below are a few examples of such threads pertaining to the Flex 5,

each one created by a different consumer and containing a multitude of

testimonials regarding the issues created by the Defect:

        1.    Lenovo YOGA 520 Screen Flickering (created February 15, 2018). 10

        2.    Flex 5 1570 Display vertical stripe and lower pink band - flicker

              (created April 3, 2018). 11

        3.    Lenovo FLEX 5-1470 black sreen flickering and warranty claim

              (created April 6, 2018). 12




9
  See https://forums.lenovo.com/t5/Lenovo-IdeaPad-1xx-3xx-5xx-7xx/New-Flex-5-has-some-
problems/m-p/3916332 (last accessed June 6, 2019).
10
   See https://forums.lenovo.com/t5/Lenovo-Yoga-Series-Notebooks/Lenovo-YOGA-520-
Screen-Flickering/m-p/3981483?search-action-id=465478280913&search-result-uid=3981483
(last accessed June 6, 2019).
11
   See https://forums.lenovo.com/t5/Lenovo-IdeaPad-1xx-3xx-5xx-7xx/Flex-5-1570-Display-
vertical-stripe-and-lower-pink-band-flicker/m-p/4032534?search-action-
id=465477875508&search-result-uid=4032534 (last accessed June 6, 2019).
12
   See https://forums.lenovo.com/t5/General-Discussion/Lenovo-FLEX-5-1470-black-sreen-
flickering-and-warranty-claim/m-p/4035448?search-action-id=465477875508&search-result-
uid=4035448 (last accessed June 6, 2019).

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      4.     Screen Flickering on Ideapad Flex 5 (created July 15, 2018). 13

      5.     New Flex 5 screen doesn’t work and poor customer service (created

             November 21, 2018).14

      6.     Lenovo Flex 5 1570 Black Screen Flickering (created December 5,

             2018). 15

      7.     Flex 5 1570 screen flickering in tablet mode (created December 20,

             2018). 16

      63.    As with the Flex 5, there are numerous posts on the Lenovo Forum

attesting to the tendency of the monitor display of the Yoga 730 to flicker, freeze,

black out, and/or display corrupted visuals. The earliest mention of this problem is

on May 22, 2018, in a thread that spans twenty-one pages and almost two years. 17

      64.    This thread contains numerous accounts of customers attempting to

exercise their rights under the Limited Warranty, and Defendant’s repeated failures


13
   See https://forums.lenovo.com/t5/Lenovo-IdeaPad-1xx-3xx-5xx-7xx/Screen-Flickering-on-
Ideapad-Flex-5/m-p/4141904?search-action-id=465490290853&search-result-uid=4141904 (last
accessed June 6, 2019).
14
   See https://forums.lenovo.com/t5/General-Discussion/New-Flex-5-screen-doesn-t-work-and-
poor-customer-service/m-p/4277334?search-action-id=465478125243&search-result-
uid=4277334 (last accessed June 6, 2019).
15
   See https://forums.lenovo.com/t5/Lenovo-IdeaPad-1xx-3xx-5xx-7xx/Lenovo-Flex-5-1570-
Black-Screen-Flickering/m-p/4293229?search-action-id=465490290853&search-result-
uid=4293229 (last accessed June 6, 2019).
16
   See https://forums.lenovo.com/t5/Lenovo-IdeaPad-1xx-3xx-5xx-7xx/Flex-5-1570-screen-
flickering-in-tablet-mode/m-p/4308542?search-action-id=465477875508&search-result-
uid=4308542 (last accessed June 6, 2019).
17
   See https://forums.lenovo.com/t5/Lenovo-Yoga-Series-Notebooks/YOGA-730-flickering-
Screen-blicking/m-p/4085136?search-action-id=465492512299&search-result-uid=4085136 (last
accessed June 6, 2019).

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to fix the Defect. For example, on February 7, 2019, a customer wrote: “I kid you

not....I just received my laptop from Lenovo repair center. I turned it on and I have

a dark bar going down the middle. At least the flickering is only on the bottom

half of the screen vs the whole screen….” Another customer reported that: “I had a

lot of trouble with my Lenovo. 1st issue with screen flickering popped up quickly

and I lost use of the laptop for a couple months while being repaired at the service

center. They replaced the screen but that didn't solve the problem and the flickering

started again a few weeks later.”18

           65.   In another example, on August 30, 2018, a forum member created a

thread entitled “Yoga 730-131Kb Screen Flickering Issues Have Begun Within

Several Days of Receiving My NEW Laptop,” stating:

                 Following advice posted online by the Lenovo Support
                 team to update my drives and bios has not helped and I am
                 extremly [sic] frustrated [sic] that a new laptop not even a
                 month old is consistantly [sic] glitching on a day to day
                 basis, at times getting [sic] so severe as to impede my
                 work, is there a way to fix this without having to call up
                 the Lenovo customer support and fighting through a
                 machin [sic] answering machine to get some help.19

           66.   In the same thread, another customer responds:

                 My sons Yoga 730 he just bought from BestBuy has the
                 same issue. He needs it for school and can’t affort [sic] to
                 send it away for report. I am an IT guy and have checked
                 it out. Windows and Lenovo updates have all been applied
18
     Id.
19
  See https://forums.lenovo.com/t5/Lenovo-Yoga-Series-Notebooks/Yoga-730-131Kb-Screen-
Flickering-Issues-Have-Begun-Within/m-p/4190562 (last accessed June 6, 2019).

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              to do not correct the issue. Seems like a [hardware]
              problem. . . .
       67.    There are dozens of threads and hundreds (if not thousands) of posts

in the Lenovo Forum detailing the monitor display problems caused by the Defect

in the Yoga 730. Purchasers of the Flex 5 and Yoga 730 have also posted similar

accounts on many other internet forums.20

       68.    Some customers claim to have successfully remedied the Defect by

replacing the eDP cable, which connects the monitor display to the motherboard

and travels through the hinge assembly connecting the monitor and the body of the

machine. If the eDP cable is poorly routed, or subject to pinching, pressure, or

friction, opening and moving the display (such as when folding the monitor into

tablet or tent mode) could loosen the cable and lead to the display issues associated

with the Defect.

       69.    On the Lenovo Forum, one customer wrote:

              I had the laptop repaired by a contracted service technician
              who replace the [eDP] cable that connects the screen to the
              main board. Voila. No issues so far. I was told this issue
              arises with other laptop makes as well! The cable routing


20
   See, e.g., r/Lenovo, Lenovo Flex 5 Screen Issues, November 8, 2018,
https://www.reddit.com/r/Lenovo/comments/9vfuqu/lenovo_flex_5_screen_issues/ (last accessed
June 6, 2019); r/techsupport, Brand new Lenovo Flex 5 screen glitch. Hardware or Software
issue?, August 27, 2017,
https://www.reddit.com/r/techsupport/comments/6wes3h/brand_new_lenovo_flex_5_screen_glit
ch_hardware_or/ (last accessed June 6, 2019); Laptop Tech Support, Lenovo Yoga 730 screen
flashing like crazy, November 28, 2018, https://forums.tomsguide.com/threads/lenovo-yoga-730-
screen-flashing-like-crazy.441132/ (last accessed June 6, 2019).

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              and stress from the screen opening and closing apparently
              had damaged the cable. 21

       70.    Multiple customers have stated that Lenovo’s repairs under the

Limited Warranty amounted to no more than “reseating” (rather than replacing) the

eDP cable. One customer related their experience with Lenovo after their new

Yoga 730 experienced screen flickering as follows:

              - Contacted customer service, when I described the
                problem they immediately recommended sending it in
                for repairs, as though they know about this common
                issue

              - Sent laptop in for repairs; Lenovo holds my computer
                for weeks with no updates (said 7-9 business days)

             - They provide update after much haranguing, then
               tried to charge me for the repairs, which I was only able
               to fight by engaging them on social media
             - They eventually agreed to greenlight the repairs for no
               charge

             - Lenovo returns my laptop, work order says only
               “reseated display cable” (so they didn't replace anything)

              - Screen flickering again starts          back up      almost
                immediately




21
   See Lenovo Forum, Re: Lenovo Flex 5 1470 black screen flickering, September 7, 2018,
https://forums.lenovo.com/t5/Lenovo-IdeaPad-1xx-3xx-5xx-7xx/Lenovo-Flex-5-1470-black-
screen-flickering/m-p/4213550#M59986 (last accessed June 6, 2019).

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               - I open up the bottom panel, all they did was tape the
                 display connector in place, which is ridiculously
                 ineffective 22

      71.      The Defect manifests both inside and outside of the warranty period.

As illustrated above, Defendant is often unable to fix the Defect during the

warranty period and routinely refuses to repair the Defect free of charge outside of

the warranty period.

      72.      Lenovo has been on notice of the Defect in the Flex 5 since at least

late 2017, and in the Yoga 730 since at least May 2018 through complaints made

to the Lenovo Forum. Nevertheless, Defendant has failed to adequately respond to

the Defect

      73.      Although Lenovo has not officially acknowledged the pervasive

nature of the Defect, it has—according to the accounts of many customers—

communicated to some customers that a wiring issue in the Class Laptops causes

the problem.

      74.      Defendant marketed, promoted, and sold the Flex 5 and Yoga 730

laptops as 2-in-1 laptops featuring a high resolution display and a monitor capable

of folding into tent and tablet modes.




22
   See Lenovo Forum, Re: YOGA 730 flickering, Screen blicking, December 11, 2018,
https://forums.lenovo.com/t5/Lenovo-Yoga-Series-Notebooks/YOGA-730-flickering-Screen-
blicking/td-p/4085136/page/17 (last accessed June 6, 2019).



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      75.    Defendant knew that a material factor for consumers purchasing a

Flex 5 or Yoga 730 was that the device possesses a high quality display, a foldable

monitor, and be able to consistently display input and output.

      76.    Lenovo concealed from and/or failed to disclose to the public at large,

including the Plaintiff and the Class the defective nature of the Class Laptops, and

failed to remove the Class Laptops from the marketplace or take adequate action to

remedy the Defect. Rather, Lenovo sold and serviced the Class Laptops even

though it knew, or was reckless in not knowing, that the Defect impacted the

display of the Class Laptops and would ultimately result in Plaintiff’s and Class

members’ inability to use their Class Laptops for their intended purpose.

      77.    It is likely that many of the Class Laptops will be used or purchased

by unsuspecting members of the putative class, and injunctive relief could prevent

harm to those who remain unaware of the Defect which can render the Class

Laptops useless. Further, potential Class-wide notice may inform Class members

of potential remedies they may not be aware of.

      78.    As the Defect likely results from the design of the Class Laptops—

i.e., the routing of the eDP cable through the monitor hinge—reseating or replacing

the cable are unlikely to fully remedy the Defect.




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                       CLASS ACTION ALLEGATIONS

      79.    Plaintiff brings this lawsuit on behalf of himself and all similarly

situated individuals and entities, pursuant to Federal Rule of Civil Procedure 23(a),

23(b)(2), 23(b)(3), and/or 23(c)(4). The classes consist of:

      1.     The Nationwide Class: All purchasers in the United States, excluding

             the state of Minnesota, who purchased a Flex 5 or Yoga 730 laptop

             computer (the “Nationwide Class”); and

      2.     The Washington Subclass: All purchasers in the state of Washington

             purchased a Flex 5 or Yoga 730 laptop computer (the “Washington

             Subclass”, and together with the Nationwide Class, the “Class”).

      80.    Excluded from the Class are: (a) any Judge presiding over this action

and members of their families; (b) Defendant and their subsidiaries and affiliates;

and (c) all persons who properly execute and file a timely request for exclusion

from the Class.

      81.    Numerosity: Members of the Class are so numerous that their

individual joinder is impracticable. Moreover, the Class is composed of an easily

ascertainable, self-identifying set of individuals and entities who purchased Flex 5

and/or Yoga 730 laptop computers. The precise number of Class members can be

ascertained through discovery, which includes Defendant’s records. Plaintiff

estimates the number of Class members to be in at least the tens of thousands. The



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disposition of their claims through a class action will benefit both the parties and

this Court.

      82.     Commonality: There are questions of law and fact common to the

Class that will materially advance the litigation, and these common questions

predominate over any questions affecting only individual Class members. Among

the questions common to the Class are:

      1.      Whether the Class Laptops suffer from a design defect that causes the

              eDP cable to fail;

      2.      The origins and implementation of, and the justifications for, if any,

              Lenovo’s policies and technology relating to the Defect and its

              manifestation in the Class Laptops;

      3.      When Lenovo became aware of the Defect in the Class Laptops and

              how it responded to that knowledge;

      4.      Whether Lenovo actively concealed and/or failed to notify consumers

              of the Defect in the Class Laptops;

      5.      Whether Defendant knew of the Defect but failed to disclose the

              problem and its consequences to their customers;

      6.      Whether a reasonable consumer would consider the Defect and its

              consequences to be material;




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    7.    Whether Defendant’s conduct violates state consumer protection laws

          as asserted herein;

    8.    Whether Defendant’s conduct violated the Magnuson-Moss Warranty

          Act;

    9.    Whether Defendant’s sale of Flex 5 and Yoga 730 laptops containing

          the Defect is unfair, false, misleading, or deceptive acts in the conduct

          of any trade or commerce;

    10.   Whether Defendant breached the implied warranty of merchantability

          by selling the Flex 5 and Yoga 730 laptops containing the Defect;

    11.   Whether Plaintiff and the other Class members overpaid for their

          Class Laptops as a result of the Defect alleged herein;

    12.   Whether Plaintiff and Class Members would have purchased their

          Class Laptops, and whether they would have paid a lower price for

          them, had they known that they contained the Defect at the time of

          purchase;

    13.   Whether Plaintiff and the Class are entitled to compensatory damages,

          including, among other things: (i) compensation for all out-of-pocket

          monies expended by members of the Class for replacement or repair

          of the Class Laptops; (ii) the failure of consideration in connection

          with and/or difference in value arising out of the variance between the


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             Class Laptops as merchantable in the absence of the Defect, and as

             actually manufactured and sold possessing the Defect; and, (iii)

             whether Plaintiff and the Class are entitled to all costs associated with

             repair and replacement of their Class Laptops; and

      14.    Whether Plaintiff and the other Class members are entitled to

             equitable relief, including, but not limited to, restitution or injunctive

             relief.

      83.    Typicality: Plaintiff’s claims are typical of the claims of the members

of the Class, as all such claims arise out of Defendant’s conduct in designing,

manufacturing, marketing, advertising, warranting, and selling the Class Laptops.

All of Plaintiff's claims are typical of the claims of the Class because Plaintiff and

all Class members were injured in the same manner by Defendant’s uniform course

of conduct described herein. Plaintiff and all Class members have the same claims

against Defendant relating to the conduct alleged herein, and the same events

giving rise to Plaintiff’s claims for relief are identical to those giving rise to the

claims of all Class members. Plaintiff and all Class members sustained monetary

and economic injuries including, but not limited to, ascertainable losses arising out

of Defendant’s wrongful conduct as described herein. Plaintiff is advancing the

same claims and legal theories on behalf of himself and all absent Class members.




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      84.    Adequate Representation: Plaintiff will fairly and adequately protect

the interests of the members of the Class and has no interests antagonistic to those

of the Class. Plaintiff has retained counsel experienced in the prosecution of

complex class actions including, but not limited to, consumer class actions

involving, inter alia, breach of warranties, product liability, product design defects,

and state consumer fraud statutes.

      85.    Predominance: This class action is appropriate for certification

because questions of law and fact common to the members of the Class

predominate over questions affecting only individual members.

      86.    Superiority: A class action is superior to other available methods for

the fair and efficient adjudication of this controversy, since individual joinder of all

members of the Class is impracticable. Given the amount at issue for each Class

member, individual suits would not be economically viable; however, should

individual Class members bring separate actions, this Court would be confronted

with a multiplicity of lawsuits burdening the judicial system while also creating the

risk of inconsistent rulings and contradictory judgments. In contrast to proceeding

on a case-by-case basis, in which inconsistent results will magnify the delay and

expense to all parties and the court system, this class action presents far fewer

management difficulties while providing unitary adjudication, economies of scale

and comprehensive supervision by a single court.


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                              CAUSES OF ACTION

                                    Count I
               Violation of the Washington Consumer Protection
                 Act, Wash. Rev. Code. Ann. § 19.86.010 et seq.
                (asserted on behalf of the Washington subclass)

      87.    Plaintiff, individually and on behalf of the Class, repeats and realleges

the foregoing paragraphs as though fully set forth herein.

      88.    The Washington Consumer Protection Act, Wash. Rev. Code §

19.86.010 et seq. (the “WCPA”) prohibits unfair and deceptive acts or practices in

the conduct of any trade or commerce.

      89.    Defendants are “persons” within the meaning of the WCPA, Wash.

Rev. Code § 19.86.010(1), and conduct “trade” and “commerce” within the

meaning of the WCPA, Wash. Rev. Code § 19.86.010(2).

      90.    Plaintiff MacKay and members of the Class are “persons” within the

meaning of the WCPA, Wash. Rev. Code § 19.86.010(1).

      91.    By reason of the conduct alleged herein, Defendant engaged in

unlawful, unfair, and deceptive practices within the meaning of the CPA.

      92.    Defendant engaged in materially misleading acts and practices by

marketing and representing that its Laptops were functional, superior products

while failing to disclose the Defect.

      93.    Defendant’s omissions and representations were likely to mislead a

consumer acting reasonably under the circumstances. Laptop purchasers are


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concerned about the functionality of their screens as their laptops cannot be easily

used without them and would, therefore, find it material if a laptop screen

contained the Defect that rendered them unfit for their ordinary purpose.

      94.    Defendant’s failure to disclose the Defect was also unfair, because it

causes substantial injury to consumers without any countervailing benefit. To

market and price a convertible laptop as detailed above while concealing the

Defect that fundamentally interferes with its use is unethical and unscrupulous.

      95.    The aforementioned conduct is and was deceptive and false.

Defendant’s wrongful conduct caused Plaintiff and the Class to suffer consumer-

related injuries by causing them to pay more for a product than it was worth, and to

spend money and time attempting to repair the defect, and/or purchase a controller

without the defect.

      96.    Defendant made the claims willingly and knowingly, despite the

numerous consumer complaints detailed herein.

      97.    Defendant alone possessed material information about the defect in

the form of pre-market testing, complaints, warranty requests and other

information not available to Plaintiff nor the Class.

      98.    Defendant’s violations present a continuing risk to Plaintiff and the

general public. Defendant’s unlawful acts and practices complained of herein

affect the public interest and are likely to be repeated.


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      99.     As a direct and proximate result of Defendant’s violations of the

above, Plaintiff and Class Members suffered damages including, but not limited to:

(1) paying more for the Class Laptops than they were worth and more than

Plaintiff and Class Members would have had they known of the defect, (2) paying

out of pocket attempting to repair the defect and/or for replacement laptops; and

(3) lost time addressing the Defect.

      100. Plaintiff, individually and on behalf of the Class, seeks relief in the

form of injunctive relief, actual damages, treble damages, and reasonable

attorneys’ fees, pursuant to Wash. Rev. Code § 19.86.090.

                                   Count II
                         Breach of Implied Warranty
    (Asserted on Behalf of the Washington Subclass and Nationwide Class)

      101. Plaintiff and the Class incorporate by reference each preceding and

succeeding paragraph as though fully set forth at length herein.

      102. A warranty that the Class Laptops were in merchantable condition is

implied by law.

      103. Plaintiff is an intended third-party beneficiary of Lenovo’s implied

warranties.

      104. These Class Laptops, when sold and at all times thereafter, were not in

merchantable condition and are not fit for the ordinary purpose for which such 2-in

1 laptops are used. Specifically, the Class Laptops are inherently defective in that


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there are defects in the Class Laptops’ screens, which are not of high quality, and

which fail prematurely and/or fail to function properly as detailed herein.

      105. Plaintiff sent Lenovo a notice letter prior to the filing of this action.

Defendant was also provided notice of these issues by numerous informal and

formal complaints filed against it, including the instant Complaint and the various

complaints detailed herein, and by numerous communications sent by Plaintiff and

other Class members.

      106. Any attempt by Lenovo to disclaim or limit its implied warranties is

unconscionable and unenforceable under the circumstances here.

      107. Specifically, any attempt by Lenovo to limit or disclaim its warranty

limitation is unenforceable because they knowingly sold a defective product

without informing consumers about the defect.

      108. As a direct and proximate result of Defendant’s breach of the

warranties of merchantability, Plaintiffs and the other Class members have been

damaged in an amount to be proven at trial.

                                  Count III
                         Breach of Express Warranty
    (Asserted on Behalf of the Washington Subclass and Nationwide Class)

      109. Plaintiff and the Classes incorporate by reference each preceding and

succeeding paragraph as though fully set forth at length herein.




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      110. Defendant expressly warranted that the Class Laptops were of high

quality and, at a minimum, would actually work properly. Defendant also

expressly warranted that it would repair and/or replace defects in material and/or

workmanship free of charge that occurred during the Limited Warranty.

      111. Defendants breached these warranties by selling to Plaintiff and Class

members the Class Laptops with known problems, which are not of high quality,

and which fail prematurely and/or fail to function properly.

      112. As a result of the Defendants’ actions, Plaintiff and Class members

have suffered economic damages including but not limited to costly repairs,

substantial loss in value and resale value of the Laptops, and other

related damage.

      113. Defendant’s attempt to disclaim or limit its express warranties vis-

à-vis consumers is unconscionable and unenforceable under the circumstances

here. Specifically, Defendant’s warranty limitations are unenforceable because

they knowingly sold a defective product without informing consumers about the

manufacturing and/or material defect. Furthermore, Defendant continues to charge

Class members for repairing the defective screens – if it repairs them at all --

when in fact such repairs are actually necessitated because of Defendant’s

defective product.




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      114. The time limits contained in Defendant’s warranty periods were also

unconscionable and inadequate to protect Plaintiffs and members of the Class.

      115. Among other things, Plaintiff and Class members had no meaningful

choice in determining these time limitations, the terms of which unreasonably

favored Defendant.

      116. A gross disparity in bargaining power existed between Lenovo and

Class members, and Lenovo knew or should have known that the Class Laptops

were defective at the time of sale and would fail well before their useful lives.

      117. In addition, Lenovo’s warranty fails of its essential purpose because

Lenovo has been and is unable to effectively repair the Defect.

      118. Plaintiffs and Class members have complied with all obligations

under the warranties, or otherwise have been excused from performance of said

obligations as a result of Defendants’ conduct described herein. In addition,

Plaintiff sent Defendant a notice letter prior to the filing of this action.

                                    Count IV
                         Unjust Enrichment/Restitution
             (Asserted on behalf of the Nationwide Class / Asserted
                 in the Alternative on behalf of the Washington
                                    Subclass)

      119. Plaintiff alleges and incorporates by reference the allegations in the

preceding paragraphs.




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      120. Plaintiff alleges and incorporates by reference the allegations in the

preceding paragraphs, and asserts a claim for unjust enrichment on behalf of the

Nationwide Class.

      121. Lenovo has been unjustly enriched as a result of the conduct described

in this Complaint.

      122. Lenovo received a benefit from Plaintiff and other members of the

Nationwide Class in the form of payment for products purchased on Lenovo’s

website.

      123. Retention of these benefits by Lenovo would be unjust and inequitable

because Lenovo received these benefits by engaging in a false, deceptive, and

misleading scheme to market the Flex 5 and Yoga 730 as premium, fully

functional 2-in-1 laptop computers, and by engaging in the unlawful, unjust, and

wrongful acts and practices described in this Complaint.

      124. The benefits (or at least some portion of the benefits) that Lenovo

received were not legitimately earned, and came at the expense of Plaintiff and the

other members of the Nationwide Class.

      125. Lenovo knows that its scheme is unjust, inequitable, and wrongful,

but systematically engages in this scheme anyway in order to gain unfair

advantages and reap unearned financial benefits.




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      126. Lenovo is guilty of malice, oppression, and/or fraud through its willful

and conscious disregard for the rights of Plaintiff and other Nationwide Class

members.

      127. Plaintiff and the Nationwide Class are entitled to restitution and

disgorgement of all amounts unjustly retained by Lenovo, as well as other

appropriate relief.

                               PRAYER FOR RELIEF
WHEREFORE, Plaintiff prays for a judgment against Defendant as follows:

      A. Entering judgment in favor of Plaintiff against Defendant;

      B. Certification of the proposed Class pursuant to Federal Rule of Civil

           Procedure 23;

      C. Appointment of Plaintiff as Class Representative for the Class;

      D. Appointment of Plaintiff’s counsel as Class Counsel;

      E. A declaration that Lenovo violated the Washington State statutes that

           form the basis for Plaintiff’s primary statutory claims;

      F. A declaration that Lenovo was unjustly enriched by its conduct as

           described herein;

      G. Monetary damages;

      H. Statutory damages in the alternative;

      I. Restitution;



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     J. Injunctive relief;

     K. Disgorgement of all monies received by Lenovo as a result of the

        unlawful, unjust, unfair, and deceptive acts and practices described

        herein;

     L. Penalties as provided by law;

     M. Treble damages;

     N. A permanent injunction enjoining Lenovo from continuing the unlawful,

        unjust, unfair, and deceptive acts and practices described herein;

     O. Pre-judgment and post-judgment interest;

     P. Reasonable attorneys’ fees and expenses; and

     Q. Such other further relief that the Court deems just and equitable.

                                   JURY DEMAND

     Plaintiffs hereby demand a trial by jury on all issues so triable.



Dated: August 28, 2020                     DELEEUW LAW LLC

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